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                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS



ERIC CERVINI, WENDY DAVIS,
DAVID GINS, and TIMOTHY
HOLLOWAY,
                                          Civil Action No. 1:21-cv-00568-RP
                      Plaintiffs,
                                          Hon. Robert Pitman
     v.


CHASE STAPP, BRANDON
WINKENWERDER, MATTHEW
DAENZER, and CITY OF SAN
MARCOS,

                      Defendants.




                    FIRST AMENDED COMPLAINT
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                                         INTRODUCTION

       1.       The mission of law enforcement is to protect and serve. But on October 30, 2020,

law enforcement officials in the City of San Marcos abdicated that responsibility by refusing to

send a police escort to protect passengers on and around the campaign bus of then-Democratic

Presidential and Vice Presidential Candidates Joseph R. Biden and Kamala Harris despite their

pleas for help. Defendants deliberately chose to ignore reports of at least forty vehicles forming a

self-labeled vehicular “Trump Train” on Interstate 35 (“I-35”) with the express purpose of

terrorizing and intimidating supporters of the Democratic ticket.

       2.       Plaintiffs Eric Cervini, Wendy Davis, David Gins, and Timothy Holloway—a

volunteer, surrogate, staffer, and contractor for the Biden-Harris Campaign, respectively—

intended to spend October 30, the last day of early voting for the presidential election in Texas,

campaigning at various political events across the state. Instead, Plaintiffs found themselves as

targets of a conspiracy to ambush the Biden-Harris Campaign bus on I-35.

       3.       For at least ninety minutes, including during the entirety of the stretch of I-35 inside

the San Marcos city lines, the Trump Train pursued and terrorized the Plaintiffs. Plaintiffs tried

to get help. They repeatedly called 911. They requested police escorts.

       4.       San Marcos refused to help. From the moment dispatch received 911 calls pleading

for help, the City of San Marcos chose not to mount a response. Instead, according to text

messages and 911 audio recordings obtained by Plaintiffs, they privately laughed and joked about

the victims and their distress, including by calling them “tards,” making fun of a campaign staffer’s

“hard” breathing, and retorting they should just “drive defensively” or “leave the train.”

       5.       Plaintiffs are filing this lawsuit to hold accountable Defendants Chase Stapp, San

Marcos Police Department (“SMPD”) Assistant Police Chief Brandon Winkenwerder, SMPD

Corporal Matthew Daenzer, and the City of San Marcos for being aware of acts of violent political

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intimidation, but refusing to take reasonable steps to protect both Plaintiffs’ safety and their

foundational democratic rights.

       6.       Defendants knew in advance that the Biden-Harris Campaign would be conducting

a bus tour through Texas that would include driving on parts of I-35 subject to SMPD jurisdiction.

Defendants also had advance notice that a group of supporters of then-President and Presidential

Candidate Donald J. Trump were coordinating a Trump Train to ambush the Biden-Harris

Campaign bus along I-35.

       7.       On October 28, Mr. Trump’s son, Donald Trump Jr., encouraged supporters in

Texas to “have some fun” and give the Biden-Harris Campaign a “nice Trump Train welcome.”

       8.       On October 28 and 29, members of the Biden-Harris Campaign encountered threats

to their physical safety, including from individuals displaying weapons and yelling death threats.

       9.       By October 29, security concerns prompted the Biden-Harris Campaign to stop

disclosing the bus’s planned campaign stops and to alert several police departments and personnel

along the upcoming route of their bus tour. In some stretches of the I-35 corridor outside of the

city lines of San Marcos, other police departments even pre-arranged to have law enforcement

vehicles accompany the bus–a precautionary measure that proved essential when those escorts

provided a temporary reprieve from the Trump Train’s aggressive tactics.

       10.      On October 29, Defendant Stapp received a phone call from a Democratic candidate

for Hays County Commissioners Court (“Biden Supporter A”), detailing the Biden-Harris

Campaign’s safety concerns. Despite having twenty-four hours’ advance knowledge of these

concerns, Defendants do not appear to have made any plans to protect the Plaintiffs or the Biden-

Harris Campaign bus, and did not pre-arrange a police escort, unlike a number of surrounding law

enforcement agencies.



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       11.     The next day, and shortly before the Biden-Harris Campaign bus crossed the San

Marcos city line, SMPD began receiving emergency calls. Passengers aboard the bus, campaign

staffers in other vehicles, other drivers on the highway, and Biden Supporter A made calls for help,

including to the SMPD’s 911 dispatch and directly to Defendant Stapp. They described a Trump

Train of at least fifty cars surrounding the bus and driving dangerously. Some callers warned that

the Trump Train might become even more aggressive if the police escort dropped off as the bus

approached the San Marcos city limit, and reported the Trump Train’s subsequent aggressions as

the bus drove through San Marcos.

       12.     As the Campaign bus approached the San Marcos city line, nearby jurisdictions

contacted Defendants to coordinate a response to the Trump Train’s tactics. 911 dispatch from the

nearby New Braunfels Police Department (“NBPD”) called SMPD to warn them about the Trump

Train and to prepare for a handoff to a new police escort.

       13.     Defendants Winkenwerder and Daenzer made a decision not to send an escort to

I-35. At no time did the SMPD respond with an escort in response to incoming calls or when the

Trump Train was in its jurisdiction. When the NBPD escort dropped off at the San Marcos city

line, Plaintiffs and everyone else on the road were on their own.

       14.     While in San Marcos, and without police to temper them, Trump Train drivers

surrounded the bus on all sides, playing a madcap game of highway “chicken,” coming within

three to four inches of the bus. Some Trump Train drivers forced the bus to go dangerously slow,

often by abruptly braking in front of the bus and forcing the bus to take evasive measures to avoid

collision. Some Trump Train drivers also swerved their vehicles in an effort to push the bus off

the road and onto the shoulder.




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       15.     The attack in San Marcos culminated with one of the Trump Train drivers, Eliazar

Cisneros, sideswiping an accompanying SUV driven by a Biden-Harris Campaign staffer

(“Campaign Staffer A”). Cisneros subsequently admitted to “slamming that fucker.”

       16.     In the midst of this intimidation and harassment and in the absence of a police

escort, Plaintiff Gins canceled the campaign event scheduled to take place at Texas State

University in the City of San Marcos. The Biden-Harris Campaign also canceled all remaining

campaign stops because of the Trump Train’s intimidation, thereby preventing some of the

Plaintiffs from exercising their First Amendment rights.

       17.     As a result of the events of October 30, including those that occurred in the City of

San Marcos, Plaintiffs suffer ongoing psychological and emotional injury. They have suffered

other tangible harms too; for example, Holloway, the bus driver, has found himself unable to drive

a bus following his experience that day.

       18.     Though the law rarely imposes an affirmative duty to act, Defendants’ failure to act

here is unlawful. Congress passed the Ku Klux Klan Act of 1871 (“Klan Act”) to, among other

things, prevent groups from conspiring to obstruct free and fair federal elections by intimidating

and injuring voters and denying them the ability to engage in political speech. And in Section 6

of the Klan Act, now codified at 42 U.S.C. § 1986, Congress specifically imposed a duty on all

Americans to protect targets of political intimidation and violence in federal elections.

       19.     Defendants had multiple opportunities to discharge their duty under federal law and

protect Plaintiffs from political intimidation. They chose not to and violated 42 U.S.C. § 1986 by

permitting a Trump Train to literally, and violently, drive Plaintiffs out of town because of their

support for an opposing federal candidate.




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                                            PARTIES

             A. Plaintiffs

       20.      Plaintiff Eric Cervini is a resident of Texas. During the 2020 campaign, Cervini

served as a volunteer in Texas for the Biden-Harris Campaign. Cervini assisted with planning and

participated in campaign events on the Biden-Harris Campaign’s “Soul of the Nation” bus tour.

       21.      Plaintiff Wendy Davis is a resident of Texas. She lives in Austin. Davis is a former

Texas State Senator and was the Democratic candidate for Texas’s 21st congressional district in

the 2020 election. Davis also served as a campaign surrogate for the Biden-Harris Campaign in

Texas during the 2020 election. On October 30, 2020, Davis participated in campaign events on

the Biden-Harris Campaign’s “Soul of the Nation” bus tour.

       22.      Plaintiff David Gins is a resident of the District of Columbia. During the 2020

campaign, Gins served as the Director of State Operations for Texas for the Biden-Harris

Campaign. Gins planned and participated in campaign events on the Biden-Harris Campaign’s

“Soul of the Nation” bus tour.

       23.      Plaintiff Timothy Holloway is a resident of the District of Columbia. A long-time

commercial bus driver, Holloway was hired by the Biden-Harris Campaign to provide vehicle and

driving services for the “Soul of the Nation” bus tour.

             B. Defendants

       24.      Defendant Chase Stapp is a resident of Texas and is the Director of Public Safety

in San Marcos, Texas. At all relevant times, Defendant Stapp was responsible for overseeing

several municipal departments, including the SMPD, San Marcos City Marshal’s Department, and

Emergency Management. Defendant Stapp, in his position as Director of Public Safety, sits in the

San Marcos City Manager’s Office, which is responsible for implementing the annual budget, City

policies, and City Council programs. Defendant Stapp received at least two calls from Biden

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Supporter A: one on October 29—the day before the campaign event at Texas State University in

San Marcos—notifying him of safety concerns; and another imploring him for a police escort as

the Trump Train threatened and intimidated the bus while it was making its way to the event in

San Marcos. Despite these requests—which were similarly made of and granted by police

departments in other jurisdictions—Defendant Stapp refused or failed to exercise reasonable care

to protect Plaintiffs from these unlawful acts.

       25.     Defendant Brandon Winkenwerder is the Assistant Chief of the SMPD. At all

relevant times, Defendant Winkenwerder’s job responsibilities included participating in the

development and administration of SMPD policies and procedures and engaging in crime

prevention activities, including the arrest, apprehension, and prosecution of offenders. At all

relevant times, Defendant Winkenwerder had the authority to assign and direct officers, including

commanding SMPD to escort Plaintiffs as they traveled through San Marcos.

       26.     Defendant Matthew Daenzer is a Corporal with the SMPD. At all relevant times,

Defendant Daenzer’s job responsibilities included supervisory responsibilities, participating in

decision-making activities, and participating in crime prevention activities, including the arrest,

apprehension and prosecution of offenders. On the afternoon of October 30, 2020, Defendant

Daenzer was the SMPD shift supervisor and had the authority to send an escort or take other

reasonable measures to protect Plaintiffs while they traveled through San Marcos.

       27.     Defendant City of San Marcos is a governmental unit in Hays County, Texas with

the capacity to sue and be sued. The departments of the City of San Marcos include the SMPD.

Employees and agents of the City of San Marcos, including those with policymaking, decision-

making, managerial, and supervisory authority, had knowledge of the Trump Train conspiracy and

engaged in the actions and inactions complained of herein pursuant to the policies, practices,

customs, and negligence of the City.

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                                        JURISDICTION

         28.   This Court has subject-matter jurisdiction over this action because this action arises

under federal law, specifically Section 6 of the Ku Klux Klan Act of 1871, 42 U.S.C. § 1986.

         29.   This Court has personal jurisdiction over all Defendants because they committed

these violations in Comal and Hays Counties, Texas, which are located in the Western District of

Texas.

         30.   Venue is proper in this district under 28 U.S.C. § 1391(e) because significant events

giving rise to this action occurred in the Western District of Texas.

                                  FACTUAL BACKGROUND

I.       THE NEW BRAUNFELS AND ALAMO CITY “TRUMP TRAINS”

         31.   Over the course of the summer of 2020, supporters of the Trump Campaign began

organizing vehicle caravans to show their support for Trump’s reelection to the U.S. presidency.

Across the country, convoys of vehicles bearing flags, signs, bumper stickers, and other Trump

paraphernalia gathered and drove through cities and towns to demonstrate their support for the

campaign. While many of these self-labeled “Trump Trains” were organized by local community

members, others were coordinated online across cities and states by activists and organizations

such as “MAGA Drag the Interstate.”

         32.   Several “Trump Trains” operated in and around the greater San Antonio and Austin

areas in the weeks leading up to Election Day 2020.

         33.   In or around July 2020, a group named the “New Braunfels Trump Train” began

operating in and around Hays and Comal Counties. In the weeks and months leading up to Election

Day, the New Braunfels Trump Train organized meetings and parade convoys of hundreds of

vehicles supporting the Trump Campaign and protesting campaigns including the Black Lives

Matter movement and Democratic candidates for political office.

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       34.    According to media reports and social media, the New Braunfels Trump Train was

led by individuals including Steve Ceh, Randi Ceh, and Jason Frank. The identities of any other

leaders or administrators of the New Braunfels Trump Train, and any other owner(s) or

administrator(s) of the New Braunfels Trump Train Facebook and YouTube accounts, are

unknown to Plaintiffs.

       35.    Steve Ceh is listed on the Republican Club of Comal County’s Website as a

“Founder” of the New Braunfels Trump Train, and is described in media reports and on social

media as a leader of the group. A now-deleted tweet from Twitter user @truthserum4all—which

could only be accessed through archived search results as it has since been deleted—states

“NewBraunfelsTrumpTrain is coming to town!! Steve Ceh leading the CHARGE !!”:




       36.    According to social media footage, Randi Ceh also participated in leading and

publicizing the New Braunfels Trump Train.1

       37.    According to social media and video footage, Frank also appears to have been a

leader and/or administrator of the New Braunfels Trump Train. Frank keynoted speeches at New

Braunfels Trump Train events.2

       38.    According to media reports and social media, Hannah Ceh and John/Jane Does

were members of the New Braunfels Trump Train.




1
  See, e.g. MagaMom716 (@RandiCeh716), TWITTER (Oct. 30, 2020, 7:49 PM),
https://twitter.com/RandiCeh716/status/1322324830155206656?s=20.
2
  See, e.g., New braunfels Trump Train, Jason Frank, YOUTUBE (Dec. 10, 2020),
https://www.youtube.com/watch?v=GS51LMSL2UA.
                                              -8-
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         39.   Following the October 30, 2020 incident, members of the New Braunfels Trump

Train—including Jason Frank—were identified in media reports and on social media as having

taken part in the January 6, 2021 insurrection. Steve Ceh and Randi Ceh were also in Washington,

D.C. that day. On January 7, YouTube user New Braunfels Trump Train posted a video entitled

“January 6, 2021 will go down a day in history[U.S. flag emoji][U.S. flag emoji].” The video

features a photo of Steve and Randi Ceh apparently posing in front of the Capitol steps as others

are breaching or attempting to breach the building.

         40.   The New Braunfels Trump Train operated both a Facebook group and a YouTube

account. On or around November 2, 2020, the New Braunfels Trump Train Facebook group was

reported to have had more than 4,000 members.3 According to media reports, the New Braunfels

Trump Train Facebook group was “closed” to non-members. Details of the New Braunfels Trump

Train’s meetings were organized in the New Braunfels Trump Train Facebook group, although

details of the group’s planned actions were posted routinely on social media and reported by local

media.

         41.   In the months leading up to Election Day, local media reported that members of the

New Braunfels Trump Train engaged in incidents that threatened individuals in the community.

In September 2020, a New Braunfels Trump Train vehicle dragged a Black Lives Matter flag under

its truck, prompting fear and outrage in the community at what looked like a simulated lynching.

Also that month, a New Braunfels Trump Train member posted the images and names of four

Black men in the New Braunfels community, in what was reported as a death threat.




3
  ‘#OperationBlockTheBus’: Inside the Pro-Trump FB Group Where Biden Bus Convoy Was
Organized, SNOPES (Nov. 2, 2020), https://www.snopes.com/news/2020/11/02/operation-block-
the-bus/.
                                            -9-
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       42.     In or around September 2020, a similar group called the “Alamo City Trump Train”

was formed. The Alamo City Trump Train operated a Facebook group, Twitter account, and

YouTube account. According to media reports, the Facebook group’s description stated:

               The Alamo City Trump Train is the loud roar of the silent majority. The purpose of
               the group is to unite patriots from San Antonio and surrounding areas and join
               together to show our support for President Trump and for conservative values. The
               group is also meant to give fellow patriots a place to meet and build long lasting
               friendships with like-minded individuals. With the success of the New Braunfels
               Trump Train, it’s time for San Antonio to step up and let our city know that WE
               ARE THE MAJORITY!4

By Election Day, the Alamo City Trump Train Facebook group was reported to have 4,000

members.5

       43.     From September 2020 through Election Day, the Alamo City Trump Train

organized meetings and parade convoys of hundreds of vehicles, during which supporters would

display Trump paraphernalia and gather to support the former President’s campaign. Details of

the Alamo City Trump Train’s actions were posted routinely on social media and reported by local

media. Details of the meetings were organized predominantly in the Alamo City Trump Train

Facebook group. The identities of the leaders or administrators of the Alamo City Trump Train,

and the owner(s) or administrator(s) of the Alamo City Trump Train Twitter and YouTube

accounts, are unknown to Plaintiffs.

       44.     According to media reports and screen captures of posts within the Alamo City

Trump Train Facebook group, Eliazar Cisneros was a member of the Alamo City Trump Train.

       45.     Cisneros admitted to local media in Texas that he had repeatedly shown up armed

with a long gun at demonstrations for viewpoints with which he disagreed. In September 2020 he


4
  Did Armed Trump Supporters Harass a Biden Bus in Texas?, SNOPES (Nov. 2, 2020),
https://www.snopes.com/fact-check/armed-trump-fans-biden-bus/.
5
  ‘#OperationBlockTheBus’: Inside the Pro-Trump FB Group Where Biden Bus Convoy Was
Organized, SNOPES (Nov. 2, 2020), https://www.snopes.com/news/2020/11/02/operation-block-
the-bus/.
                                            - 10 -
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drove his car, adorned with Trump flags, into a crowd of Black Lives Matter protestors in San

Antonio:




       46.      At the time of filing, the New Braunfels and Alamo City Trump Train Facebook

groups are no longer active, and the New Braunfels Trump Train group cannot be located. A

March 30, 2021 tweet by the Alamo City Trump Train’s Twitter account stated that the group was

“permanently disabled” because “[a]ll admins personal FB pages, business pages, & even a

campaign page for one of the admins running for city council were all banned.”6 It is unknown to

Plaintiffs whether and when the New Braunfels Trump Train Facebook group was deactivated or

deleted.

II.    THE IMMEDIATE LEAD-UP TO OCTOBER 30

             A. Biden-Harris Campaign Announces “Soul of the Nation” Bus Tour

       47.      On October 25, 2020, news broke that then-Vice Presidential candidate Kamala

Harris would be visiting Texas. Three days later, the Biden-Harris Campaign released Vice




6
 Alamo City Trump Train (@210TrumpTrain), TWITTER (Mar. 30, 2021, 11:28 PM),
https://twitter.com/210TrumpTrain/status/1377100411211935751?s=20.
                                            - 11 -
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President Harris’ schedule, which announced that she would hold events in McAllen, Fort Worth,

and Houston on Friday, October 30, 2020.

       48.     On October 27, 2020, the Biden-Harris Campaign announced a three-day “Soul of

the Nation” bus tour from October 28 to 30, 2020 (the “Bus Tour”). The Bus Tour was to feature

rallies and gatherings in support of the Biden-Harris Campaign as well as speeches by campaign

surrogates and candidates in local Texas elections. The Bus Tour announced that it would include

stops in Amarillo, Lubbock, Abilene, Fort Worth, and Dallas on the first day; Beaumont, Port

Arthur, Houston, Fort Bend, and Corpus Christi on the second day; and Laredo, San Antonio, San

Marcos, and Austin on the third day.

       49.     As soon as the Biden-Harris Campaign made plans for the Bus Tour public,

members of the Alamo City and New Braunfels Trump Trains began planning to intercept and

intimidate the bus as it traveled through Bexar, Comal, Hays, and Travis Counties on October 30.

On the morning of Wednesday, October 28, 2020, one Alamo City Trump Train member posted

that the group should “be on standby for Friday,” and that the group should “flood the hell out of

them [the Biden-Harris Campaign bus]”:7




       50.     On the afternoon of October 28, 2020, President Trump’s son and a Trump

Campaign surrogate, Donald Trump Jr., posted a video on Twitter directed to supporters of his


7
  ‘#OperationBlockTheBus’: Inside the Pro-Trump FB Group Where Biden Bus Convoy Was
Organized, SNOPES (Nov. 2, 2020), https://www.snopes.com/news/2020/11/02/operation-block-
the-bus/.
                                            - 12 -
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father in Texas, stating, “Hey Laredo. Don Jr here. I heard you had an awesome turn out for the

Trump Train. It would be great if you guys would all get together and head down to McAllen

and give Kamala Harris a nice Trump Train welcome. Get out there. Have some fun. Enjoy

it. Don’t forget to vote and bring all of your friends. Let’s show them how strong Texas still is as

Trump country. Get out there guys.”

          51.      Kambree Kawahine Koa, who uses the Twitter handle @KamVTV, retweeted Don

Jr.’s message and encouraged her now more than 300,000 followers to give the Biden-Harris

Campaign a “big Trump Texas Welcome” on October 30: 8




                B. Trump Train Follows Biden-Harris Campaign Bus at October 28–29 Events

          52.      On October 28, 2020, the first day of the Bus Tour, social media posts began to

circulate about Trump Train members attempting to follow the bus. Koa tweeted that “one of our

guys” was following behind the Biden-Harris Campaign bus, and told her followers to “Stay

tuned.”     Koa, a freelance journalist and Women for Trump activist, appears to have been

instrumental in organizing and publicizing Trump Trains throughout the state during the duration

of the Bus Tour.9




8
  Kambree (@KamVTV), TWITTER (Oct. 28, 2020, 4:06 PM),
https://twitter.com/KamVTV/status/1321543980165857283.
9
  Kambree (@KamVTV), TWITTER (Oct. 28, 2020, 6:00 PM),
https://twitter.com/KamVTV/status/1321572618286342144; Kambree (@KamVTV), TWITTER
(Oct. 28, 2020, 6:55 PM), https://twitter.com/KamVTV/status/1321586309299916801.
                                               - 13 -
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       53.     At campaign stops in Lubbock, Fort Worth, Dallas, and Houston on the first and

second days of the Bus Tour, Trump supporters confronted Biden-Harris supporters and Bus Tour

participants. Trucks with Trump paraphernalia followed the bus between Fort Worth and Dallas,

and surrounded the bus when it stopped outside a library in Dallas. Some Trump supporters got

out of their vehicles and confronted individuals from the Biden-Harris Campaign. One Trump

supporter screamed graphic insults at a child at the library. Trump supporters continued to follow

the bus as it drove to Houston, and circled the area near the stop, shouting at Biden-Harris

supporters and Bus Tour participants and disrupting the event.

       54.     At the next scheduled Bus Tour stop in Fort Bend, about 500 Trump supporters

were waiting when the bus arrived. According to Plaintiff Gins, the Trump supporters began

“descending upon” the bus and the Biden-Harris campaign’s roughly fifty supporters.

Outnumbered, Gins was forced to end the event early.

       55.     On October 29, large crowds of Trump supporters showed up at Bus Tour stops in

Houston, Fort Bend, and Corpus Christi, bringing military-grade vehicles—including a “Trump

Tank”—displaying weapons, blaring music so as to drown out the campaign speeches, yelling,




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verbally threatening, pushing and shoving, and engaging in minor physical altercations with the

campaign participants.10




10
   Kambree (@KamVTV), TWITTER (Oct. 29, 2020, 5:25 PM),
https://twitter.com/KamVTV/status/1321926207915597826; Kambree (@KamVTV), TWITTER
(Oct. 29, 2020, 4:01 PM), https://twitter.com/KamVTV/status/1321905049036070914.
                                               - 15 -
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       56.     During the event at Corpus Christi, Trump supporters again outnumbered Biden-

Harris supporters and proceeded to surround the bus. A woman tried to push her way into

supporters of Biden-Harris Campaign surrogate Congressman Joaquin Castro. When a Biden-

Harris Campaign staffer (“Campaign Staffer A”) attempted to block the woman, her husband told

him: “If I see you again, I’m gonna f**king kill you.”

       57.     Trump supporters also continued to follow the bus. One vehicle included a “Trump

hearse” that stated it was “collecting Democratic votes one dead stiff at a time.”11




11
   Kambree (@KamVTV), TWITTER (Oct. 29, 2020, 3:52 PM),
https://twitter.com/KamVTV/status/1321902646706528256.
                                          - 16 -
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       58.      Social media continued to circulate about plans to interrupt the bus on the final day

of its tour: October 30. Members of the Alamo City and New Braunfels Trump Trains, including

Dolores Park, circulated calls to meet that Friday at 12:30pm to “greet the Biden Bus Trump

Style”:12




       59.      On Twitter, Trump supporters—including those, like Koa, who were openly

publicizing the Trump Trains in Texas—focused significant attention on reports that then-VP




12
   Dolores Bedard Park, FACEBOOK (Nov. 2, 2020),
https://www.facebook.com/dolores.park.39/posts/10157770348953997.
                                           - 17 -
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Candidate Harris would be attending campaign events and might be present on the Biden-Harris

Campaign bus. 13




       60.     Also on October 29, Koa hosted a live video on Periscope with Keith Lee, a founder

of the “MAGA Drag the Interstate” movement and organizer of “MAGA Drag the Interstate”

events in Texas.14 Koa told listeners that Lee was currently in a Trump Train “trolling” the Biden-

Harris bus, and urged her followers to join the Trump Train on October 30: “So this is what we

need everybody to do right now, because Keith is going to be following the Biden-Harris bus,

which is for surrogates only, they’re following them to their next location tomorrow.” Lee replied,

“This is epic trolling. Thank you President Trump for giving us the cojones to do this.” Several

of the approximately 15,900 viewers left comments asking where they could meet up to join the

Trump Train the next day.




13
   Kambree (@KamVTV), TWITTER (Oct. 28, 2020, 7:22 PM),
https://twitter.com/KamVTV/status/1321593312743170050; Damani Felder
(@TheDamaniFelder), TWITTER (Oct. 29, 2020, 4:28 PM),
https://twitter.com/TheDamaniFelder/status/1321911838221676552; Damani Felder
(@TheDamaniFelder), TWITTER (Oct. 29, 2020, 4:45 PM),
https://twitter.com/TheDamaniFelder/status/1321915977676644352.
14
   Kambree (@KamVTV), Biden bus tour update in Texas, PERISCOPE (Oct. 2020),
https://www.pscp.tv/w/1lDxLylzdyZKm.
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       61.      As a result of these incidents, the Biden-Harris campaign became concerned about

security and decided not to pre-announce the bus’s remaining stops in Texas, undermining the

campaign’s goal of drawing supporters to the events.

       62.      On October 29—more than twenty-four hours in advance of the planned campaign

stop in San Marcos—Biden Supporter A notified Defendant Stapp of the upcoming event in San

Marcos and reported public safety concerns related to plans for a Trump Train on the Bus Tour’s

final day.

       63.      Upon information and belief, even prior to Biden Supporter A’s phone call to

Defendant Stapp, Defendants City of San Marcos, Stapp, and Winkenwerder were on notice of

Plaintiffs’ Bus Tour and the planned political event in their jurisdiction. Earlier that day, SMPD’s

interim chief of police emailed all SMPD police commanders, including Defendants Stapp and

Winkenwerder, notifying them of the Biden-Harris Campaign’s Bus Tour from San Antonio to

Austin and the planned campaign stop in San Marcos.

       64.      In response to this information, neither Defendant Stapp, Defendant Winkenwerder

nor the SMPD made preparations to respond to any potential safety issues involving the Bus Tour,

nor did they alert the Hays County Sheriff’s Office of the event the next day in San Marcos.


III.   THE OCTOBER 30 TRUMP TRAIN

             A. Members of the Trump Train Coordinate Ambush of Biden-Harris
                Campaign Bus

       65.      On the morning of October 30, posts on social media indicated that members of the

Alamo City and New Braunfels Trump Trains began to communicate on social media for the

purpose of coordinating their ambush of the Bus Tour.

       66.      On Facebook, Jason Frank, a leader of the New Braunfels Trump Train, encouraged

his friends and followers to “go get that Biden bus,” and that he “can’t wait for pics and videos”

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of the Trump Train. Frank included with the post a video produced by Tammy Coiteux and Cody

Ceh, other members of the Trump Train.15 Set to dramatic action movie music, the video rallies

Trump Train members to action, and uses language evocative of a military campaign: “TRUMP

2020 THE LAST STAND.”

       67.    In the New Braunfels Trump Train group, Randi Ceh spread the word about the

group’s plan to track the bus’s route and converge on the Bus Tour participants.16 Multiple group

members asked about the logistics for meeting up to begin their attack on the bus, asking: “where

are they meeting???”; “where is Solms exit?”; and “Does anybody estimate the time that they will

be going to new Braunfels [sic][.]” Several group members posted that they were “on [their] way.”




15
   Jason Frank, FACEBOOK (Oct. 31, 2020),
https://www.facebook.com/freidom.rings.7/posts/718832605395799 (last accessed May 28,
2021).
16
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 5:58 AM),
https://twitter.com/RzstProgramming/status/1322855604042539008.
                                            - 20 -
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       68.     Reports also circulated in the group that then-Vice Presidential Candidate Harris

would be on the bus as it passed through New Braunfels, with one group member asking, “how

long before she gets in [sic] NB [New Braunfels?]” Despite these false conclusions about Vice

President Harris’s whereabouts on October 30—she attended the previously announced events in

McAllen, Fort Worth, and Houston for the entirety of the day—the possibility that the then-Vice

Presidential Candidate would be in attendance at the Bus Tour whipped up further agitation within

the New Braunfels Trump Train group.

       69.     Members of the Trump Trains were also monitoring the northern-bound movement

of the bus from overpasses on I-35. According to a publicly posted YouTube video entitled

“Operation Biden Harris Bus Escort – Oct. 30,” “Trump Train members coordinated with other

TT [Trump Train] groups in McAllen, to track the bus as it was coming north to San Antonio for

a Rally.”17 Alamo City Trump Train members, too, were tipped off on the bus’s advance into San

Antonio.

       70.     Around 12:30pm, Twitter user @truthserum4all posted on Twitter:




17
 Lee Besing, Operation Biden Bus Escort Duty on IH-35 in Texas - October 30th - Part 1,
YOUTUBE (Nov. 1, 2020), https://www.youtube.com/watch?v=hyUH3mdXNyQ.
                                          - 21 -
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       71.    New Braunfels Trump Train member Tammy Coiteux shared @truthserum4all’s

Tweet on Facebook, telling her friends and followers, “Join us in San Antonio to follow the [bus

emoji.]” The post was shared 22 times.18




18
   Tammy Coiteux, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/tammy.coiteux/posts/3934764559870485.
                                         - 22 -
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             B. The Bus Tour Begins With Events In Laredo and San Antonio

       72.      Meanwhile, the Bus Tour began the day in Laredo. Plaintiffs originally planned to

attend campaign events in San Antonio, San Marcos, and Austin, mostly by navigating north on

I-35. After three planned stops in San Antonio, the Bus Tour was scheduled to stop at Texas State

University in San Marcos, where it would speak to students rallied by student advocates, and at

the AFL-CIO in Austin, where Plaintiff Davis, a former state senator and then-Democratic

candidate for Texas’s 21st congressional district, was slated to speak with U.S. Representative

Lloyd Doggett. The bus had two additional stops planned after the AFL-CIO event, one at a

polling location at the University of Texas at Austin and another at a polling location in greater

Austin. The same day, Vice President Harris was scheduled to campaign in other cities in Texas,

including at an event in McAllen.

       73.      Plaintiffs Holloway and Gins departed Laredo on the bus early on the morning of

October 30. During its drive from Laredo to San Antonio, Campaign Staffer A escorted the bus

in a white Ford Edge SUV, driving ahead of the bus for long stretches between Laredo and San

Antonio. About halfway through that drive, the staffer reported seeing roughly 15 to 20 vehicles

sporting Trump Campaign paraphernalia on an I-35 feeder road. A fellow campaign staffer

suggested to Plaintiff Gins that the bus take a side road to avoid the convoy. Concerned for their

safety if they were to run into Trump Train vehicles, Plaintiffs Holloway and Gins exited I-35 and

took an alternative route into San Antonio.

       74.      Trump Train members, who had been tracking the bus from Laredo to San Antonio,

soon realized that their plans to intercept the bus had been thwarted. According to the “Operation

Biden Harris Bus Escort – Oct. 30” YouTube video, “A group of Trump Train supporters camped

out on the I-35 overpass with their flags, south of San Antonio, waiting patiently for the bus that



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never arrived[.]”19 However, members of the New Braunfels and Alamo City Trump Trains were

not dissuaded, and began deploying to pre-planned positions along I-35. Around 9:30am, Alamo

City Trump Train members began to post in the Facebook group that they were “[g]oing to head

over to [I-]35 and wait,” and that some members were already “located at [I-]35N and [Route]

1604. Ready to rock.”




       75.      Shortly after arriving in San Antonio, Plaintiff Davis met up with the bus, on which

she would be a passenger for the rest of the Bus Tour. Plaintiff Cervini also met the bus in San

Antonio in his own vehicle, planning to escort the bus throughout the day.

       76.      The Bus Tour made three stops in San Antonio, the last of which was the AT&T

Center, where the tour participants were met with Trump supporters waiting in the parking lot.

             C. The Bus Tour Is Besieged Driving Between San Antonio and Austin

       77.      The bus left San Antonio around 2:15pm with the assistance of a prearranged police

escort. There were four people aboard the bus as it left San Antonio: Plaintiffs Holloway, Davis,

and Gins, as well as the other bus driver who was off-duty that day. Plaintiff Cervini was driving

about a mile ahead of the bus, and other Biden-Harris Campaign and political aides and volunteers,

including Campaign Staffer A, were driving in vehicles escorting the bus.

       78.      About half an hour before the Trump Train intercepted the bus, members of the

Biden-Harris Campaign began seeing posts on Instagram and Snapchat about the converging


19
 Lee Besing, Operation Biden Bus Escort Duty on IH-35 in Texas - October 30th - Part 1,
YOUTUBE (Nov. 1, 2020), https://www.youtube.com/watch?v=hyUH3mdXNyQ.
                                          - 24 -
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vehicles. At the city limits of San Antonio, as the Bus Tour headed into the city of Live Oak, the

police escort dropped off.

       79.     As the bus crossed from Live Oak to Selma, while the bus was passing the

intersection of Route 1604 and I-35 by The Forum shopping mall, Trump Train vehicles converged

on the bus. Vehicles—most of them large trucks and SUVs—displayed a variety of flags,

including Trump campaign flags, Confederate battle flags, and many others. The Trump Train

began harassing the bus by surrounding it, forcing it to slow down, honking, yelling, and making

hand gestures. Vehicles started getting close to the bus and taking videos.

       80.     Upon information and belief, among the vehicles who joined the ambush at or

around this time was Eliazar Cisneros. In a 2:33pm video posted to his since-deleted Facebook

page, Cisneros can be seen waiting on the shoulder of I-35 to join other Trump Train vehicles.20

The video shows the Biden-Harris bus drive past Cisneros’s watch post on the I-35 shoulder,

already flanked by several Trump Train vehicles. Cisneros, driving a black Ford F-150, Texas

License Plate # 67555 DV, joined the Trump Train on I-35 shortly thereafter.

       81.     Around 3:04pm, while driving just south of New Braunfels near Exit 184, Rueckle

Road, Plaintiff Cervini encountered bumper-to-bumper traffic on I-35 and observed a line of at

least 40 vehicles lying in wait on the side of the interstate. Plaintiff Cervini filmed these vehicles

and later posted the video on Twitter.21

       82.     Shortly thereafter, Plaintiff Cervini exited I-35 at Exit 184 and continued on the

planned route to the next campaign stop at Texas State University in San Marcos, Texas.




20
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 11:10 AM),
https://twitter.com/RzstProgramming/status/1322934038739492866.
21
   Dr. Eric Cervini (@ericcervini), TWITTER (Oct. 30, 2020, 8:34 PM),
https://twitter.com/ericcervini/status/1322336226792321025?s=20.
                                              - 25 -
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        83.     Also at this time, Plaintiff Cervini messaged the other Bus Tour participants to warn

them, and suggested they take another route to avoid the traffic and the Trump Train. From the

bus, Plaintiff Gins responded that it was too late; they were “stuck in it.”

        84.     As the vehicular aggression intensified, Campaign Staffer A stayed behind the bus

to protect its blind spot.

        85.     Meanwhile, New Braunfels Trump Train members were also waiting in the wings

to join the increasingly escalating situation on I-35. According to a publicly posted YouTube

video, Trump Train members on I-35 “called ahead to the New Braunfels Trump Train group.”22

The video shows a “few dozen more vehicles” waiting to join those already in the Trump Train.

        86.     Upon information and belief, among the vehicles who joined the ambush of the Bus

Tour around this time were Hannah Ceh, Joeylynn Mesaros, Robert Mesaros, Dolores Park, and a

John/Jane Doe driving a red Toyota Tundra bearing Texas License Plate # GLB 9729.

        87.     Based on social media posts and video evidence, Hannah Ceh rode in a white

Toyota Tundra along with at least two John Does, Texas License Plate # LXT 9066, which had

three flags attached to the back, including a Trump flag and Confederate flag. Based on self-

posted social media posts, Hannah Ceh was the passenger of a white Toyota Tundra seen

throughout the incident:23




22
   Lee Besing, Operation Biden Bus Escort Duty on IH-35 in Texas - October 30th - Part 1,
YOUTUBE (Nov. 1, 2020), https://www.youtube.com/watch?v=hyUH3mdXNyQ.
23
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 5:47 AM),
https://twitter.com/RzstProgramming/status/1322852781041061888; see also Resist
Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 6:18 AM),
https://twitter.com/RzstProgramming/status/1322860570610147331.
                                            - 26 -
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       88.     Based on social media posts and video evidence, Robert and Joeylynn Mesaros rode

in a black Ford F-150, Texas License Plate # NJX 1701, which had at least five flags attached to

the back. Joeylynn Mesaros posted on social media identifying herself and her husband as present

on I-35 during the incident driving in a black Ford F-150, and Joeylynn Mesaros appears to have

taken a Facebook live video during the incident.24




24
   Joeylynn Mesaros, FACEBOOK (Oct. 31, 2020),
https://www.facebook.com/100000575746052/videos/pcb.3923562267672926/39235539676737
56 (last accessed May 27, 2021);
Joeylynn Mesaros, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/joeylynn.aramendiamesaros/posts/3920656761296810 (last accessed
May 27, 2021).
                                           - 27 -
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       89.     Based on social media posts and video evidence, Dolores Park drove a Cadillac

SRX, Texas License Plate # KVH 4567. Park posted on social media identifying herself as present

on I-35 during the incident driving in a Cadillac SRX.25




25
   @dolores_mommapark, INSTAGRAM (Oct. 30, 2020),
https://www.instagram.com/p/CG_IgOgH2C9/;
@dolores_mommapark, INSTAGRAM (Oct. 30, 2020),
https://www.instagram.com/p/CG_OL3ung4J/.
                                        - 28 -
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       90.      As the aggressive behavior of the Trump Train escalated, Plaintiff Davis began

filming video of the view from the bus’s front window. Plaintiff Holloway, who had to this point

tolerated the Trump Train’s behavior, asked, “Are they gonna stop me? Like, come on man. It's

getting stupid now.” Several minutes later, Holloway noted that they had slowed down to 15 miles

per hour.

       91.      The view from the front window of the bus shows how close the Trump Train

vehicles were driving to the bus on all sides and how abruptly they were routinely braking. This

tactic repeatedly forced the bus to quickly slow down to a dangerously low speed in order to avoid

a collision. Around Exit 189, Cisneros’s truck moved in front of the bus. Video evidence shows

Cisneros rapidly decelerating within seconds of entering the right-hand lane in front of the bus in

an apparent attempt to slow the bus down.


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       92.    By the time the bus reached New Braunfels, there were dozens of Trump Train

vehicles surrounding the bus:26




26
   🇺🇸🦅 P💥A💥T💥R💥I💥O💥T🦅🇺🇸 (@BlessUSA2024), TWITTER (Oct. 31, 2020, 2:43 PM),
https://twitter.com/BlessUSA2024/status/1322610261124141057.
                                            - 30 -
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       93.     Also around this time, near Exit 193 in New Braunfels, Park streamed two live

videos to Facebook. In one, she states, “This Biden bus is surrounded! Like seriously surrounded

by Trump flags!” and “If my husband sees me like this he’s going to kill me for driving like this!”27

In another, she comments on other non-Trump Train vehicles on the road, stating, “they’re gonna

to try to break us up; they try to break us up but it doesn’t work … there’s too many of us, and

then someone just lets everyone in.”28 Later in the same video, she explains how she and others

have been maneuvering to slow down traffic near the bus to keep it surrounded by Trump Train

vehicles: “See when you scoot over, then you let everyone else in, like this.… He’s [non-Trump

Train vehicle] been with us for quite a few miles, he’s been trying to cut everyone off but I’m

going to let everyone in.”




27
   Dolores Bedard Park, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/dolores.park.39/videos/10157762463158997/.
28
   Dolores Bedard Park, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/dolores.park.39/videos/10157762399613997/.
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              D. Plaintiffs Seek Police Protection from the Trump Train in San Marcos, But
                 Defendants Refuse to Help

        94.      Upon entering New Braunfels, Campaign Staffer A called 911 to report the

escalating situation and to request a police escort or other safety measures. NBPD sent vehicles

to I-35. As soon as the police arrived, the Trump Train picked up some speed and curbed its

harassment of the bus passengers and escorting vehicles.

        95.      As the bus continued to travel northbound toward San Marcos, Defendants received

additional details about the Trump Train and the dangers that would ensue if they did not send an

escort to protect the bus in their jurisdiction. At 3:04pm on October 30, 2020, a SMPD crime

analyst emailed all SMPD police commanders, including Defendants Stapp and Winkenwerder,

stating, “I have been informed that Kamala Harris may be coming to San Marcos and Trump Train

may be to follow.”

        96.      At or around 3:15pm, when the bus was still in New Braunfels, Biden Supporter A

once again called Defendant Stapp, explaining that approximately fifty Trump Train vehicles were

surrounding the bus. Defendant Stapp assured Biden Supporter A that SMPD would send backup

to assist the bus.

        97.      Defendant Stapp did not order an escort for the Biden bus. Instead, Defendant

Stapp simply “forwarded the information” to Defendant Winkenwerder.

        98.      In response, Defendant Winkenwerder sent an e-mail to a SMPD police officer

listserv informing the officers that the Biden-Harris Campaign bus was being “followed by the

Trump train” and that “the bus train combo” would be arriving at a lot around the Texas State

University campus. Defendant Winkenwerder did not order an escort or any other assistance for

the bus on the highway. He only asked that officers “close patrol” the area near Texas State

University.


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       99.    Around the same time, Defendant Daenzer was in contact with SMPD 911 dispatch.

He joked with an SMPD 911 dispatcher about the incoming Biden-Harris Campaign bus:

       UNKNOWN SMPD DISPATCHER: San Marcos Police.

       DEFENDANT DAENZER: “I am an incoming political bus.” It’s Daenzer.
       Sorry. I was trying to make a joke. Apparently that was a very bad joke. Heh,
       heh, heh, heh.

       100.   At or around 3:19pm, as the Bus Tour approached the New Braunfels-San Marcos

city line, NBPD 911 dispatch called SMPD 911 dispatch. During that call, the NBPD 911

dispatcher attempted to arrange a handoff of the NBPD escort to SMPD, as well as to transfer

Campaign Staffer A’s call to SMPD 911 dispatch:

       UNKNOWN NBPD DISPATCHER: Hi. This is New Braunfels. I have a transfer, the
       reckless driver. I have my guys following, but I also need to see if I can get somebody else
       out there.

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay. What’s the location?

       UNKNOWN NBPD DISPATCHER: They’re crossing our jurisdiction, going into you
       guys. But it’s going to be the Biden-Harris bus. And a gentleman is behind them. He’s
       part of it. But the Trump Train has got a bunch of their trucks trying to prevent it and
       they’re impeding traffic.

       ...

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay. And it’s the what bus?

       UNKNOWN NBPD DISPATCHER: The Biden-Harris bus.

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay. And what is the vehicle that’s
       following?

       CAMPAIGN STAFFER A: I’m in a white Ford SUV. I have my hazards on as well.

       SMPD DISPATCHER BRITTNEY HERBELIN: You’re in a white Ford SUV?

       CAMPAIGN STAFFER A: Yes, ma’am.

       UNKNOWN NBPD DISPATCHER: And what is occurring?

       CAMPAIGN STAFFER A: Well, so we have probably thirty (indiscernible) guys coming
       up on my right on the (indiscernible) road. So they’re trying –they’re repeatedly trying to
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       like pull in, in between me and the bus. They’re very aggressively driving. They’re
       impeding traffic, so we’re slowed down (indiscernible).

       101.    The NBPD Dispatcher explained to Herbelin that NBPD would continue to escort

the Biden-Harris bus until the beginning of SMPD’s jurisdiction, requested that SMPD then “cut

in” to escort the bus, and continued to explain that the Trump Train was impeding traffic:

       UNKNOWN NBPD DISPATCHER: But I have my guys already like in there,
       but every time they get ahead to let the Biden bus get ahead of them or to get
       distance between the Trump supporters, the Trump supporters keep cutting them
       off.

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay.

       UNKNOWN NBPD DISPATCHER: And they keep impeding traffic. Like
       they’re slowing traffic down to 30 miles per hour.

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay. Thirty miles per hour.
       Speeding.

       102.    After putting the NBPD 911 dispatch and Campaign Staffer A on hold, Herbelin

contacted Defendant Daenzer:

       SMPD DISPATCHER BRITTNEY HERBELIN: Hey, it’s Brittney.

       DEFENDANT DAENZER: Hi.

       SMPD DISPATCHER BRITTNEY HERBELIN: Hi.

       DEFENDANT DAENZER: [LAUGHS].

       SMPD DISPATCHER BRITTNEY HERBELIN: I am so annoyed at New
       Braunfels for doing this to us. They have their officers escorting this Biden bus,
       essentially, and the Trump Train is cutting in between vehicles and driving—
       being aggressive and slowing them down to like 20 or 30 miles per hour. And
       they want you guys to respond to help.

       DEFENDANT DAENZER: No, we’re not going to do it. We will close patrol
       that, but we’re not going to escort a bus.

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay.

       DEFENDANT DAENZER: Yeah.


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       SMPD DISPATCHER BRITTNEY HERBELIN: Okay. Well (indiscernible).

       DEFENDANT DAENZER: (Indiscernible) came in here a little bit ago told us they
       were running a bit late. But we will close patrol the areas they go and if we observe
       any traffic violations, we’ll deal with that.

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay, cool. Yeah, of course,
       the—one of the guys following the Biden train’s like, “they’re being aggressive,
       na-na-meh-meh.”

       DEFENDANT DAENZER: Who said that? New Braunfels?

       SMPD DISPATCHER BRITTNEY HERBELIN: My caller on the line that New
       Braunfels transferred us.

       DEFENDANT DAENZER: Oh, your caller. I gotcha. Oh, okay.

       SMPD DISPATCHER BRITTNEY HERBELIN: But they’re like really worked
       up over it and he’s like breathing hard and stuff, like, “they’re being really
       aggressive.” Okay. Calm down.

       DEFENDANT DAENZER: Yeah.

       SMPD DISPATCHER BRITTNEY HERBELIN: Calm down, like . . .

       DEFENDANT DAENZER: Yeah, well, drive defensively, and it’ll be great.

       SMPD DISPATCHER BRITTNEY HERBELIN: Or leave the train. There’s an
       idea.

       103.   Immediately following her call with Defendant Daenzer, Herbelin informed

Campaign Staffer A that SMPD would not provide a police escort:

       SMPD DISPATCHER BRITTNEY HERBELIN: Okay. I’m well aware that New
       Braunfels is—was only going to escort you guys for a little while. Our officers will
       patrol the area. They are not there to escort the train. If you feel like you’re being
       threatened or your life is threatened, definitely call us back. But I’m going to go
       ahead and disconnect you because I have other emergencies coming in. And they
       will check the area and stop—

       CAMPAIGN STAFFER A: Are you kidding me, ma’am?

       SMPD DISPATCHER BRITTNEY HERBELIN: I’m sorry.

       CAMPAIGN STAFFER A: They’ve cut in on me multiple times. They’ve
       threatened my life on multiple occasions with vehicular collision. I would like
       an escort immediately.
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       SMPD DISPATCHER BRITTNEY HERBELIN: Okay. Our officers are not
       going to escort the train. They are going to be in the area to monitor any traffic
       infractions, but they are not there to escort. This is from our Chief.

       104.      Upon information and belief, “our Chief” refers to Defendant Winkenwerder,

whose title is Assistant Chief.

       105.      After disconnecting with Campaign Staffer A, Herbelin spoke again with NBPD

911 dispatch:

       UNKNOWN NBPD DISPATCHER: I don’t know if y’all are still on the line with
       the person that was driving the Biden-Harris bus (indiscernible).

       SMPD DISPATCHER BRITTNEY HERBELIN: No. He was right behind it. I
       did just disconnect him. He’s very upset. Our officers are not going to escort that.
       They are going to respond to the area to make sure that nothing significant occurs
       and stop any traffic infractions. But they’re not going to escort that bus. So that’s
       what he was upset about. But—

       UNKNOWN NBPD DISPATCHER: Okay. That’s fine. I understand.

       SMPD DISPATCHER BRITTNEY HERBELIN: They have (indiscernible).

       UNKNOWN NBPD DISPATCHER: My officers were just wanting me to pass on
       that they saw him reaching the outlet malls and the Trump supporters were
       impeding him again.

       SMPD DISPATCHER BRITTNEY HERBELIN: Yeah, I was just on the line with
       him and added that note to my call. But I do appreciate you guys calling back and
       for the additional information.

       106.      Upon information and belief, Defendant Daenzer conferred with Defendant

Winkenwerder about his decision not to send an escort. Although Defendant Winkenwerder could

have overruled Defendant Daenzer’s decision and ordered an escort in time to assist the bus, he

did not do so.

       107.      At or around 3:26pm, the Biden-Harris Campaign bus crossed the San Marcos city

line and entered its jurisdiction. Upon information and belief, SMPD’s jurisdiction on I-35 begins

at exit 199. SMPD headquarters is located at 2300 S. Interstate 35, San Marcos, Texas 78666, on

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I-35 near exit 202. The same address, 2300 S. Interstate 35, San Marcos, Texas 78666, is also the

business mailing address for Defendants Winkenwerder and Daenzer.

       108.       Between 3:26pm and 3:30pm, the safety situation continued to escalate on I-35 in

San Marcos. At 3:30pm and 3:34pm, multiple other witnesses on I-35 called 911 to warn SMPD

about the Trump Train’s dangerous and reckless driving through San Marcos. Still, SMPD did not

send an escort.

       109.       Fearing for other Plaintiffs’ and his own safety, and without a police escort to

accompany the bus safely through San Marcos to its next stop at Texas State University, Plaintiff

Gins ultimately made the decision to cancel the Texas State University event.

       110.       Meanwhile, around 3:30pm, Plaintiff Cervini arrived at the Texas State University

venue in San Marcos, where two San Marcos City Marshal’s cars were stationed.                 Upon

information and belief, the two San Marcos City Marshal’s cars were driven by San Marcos City

Marshal Cole Stapp and San Marcos City Marshal Jacob Clark, respectively.

       111.       Upon arriving at the Texas State University venue, Plaintiff Cervini informed San

Marcos City Marshal Cole Stapp that the campaign would no longer be coming to the venue as

planned, and implored him for police assistance to protect the bus, emphasizing that the bus “could

really use your help.”

       112.       In response, Marshal Stapp called SMPD 911 dispatch and informed them that the

bus no longer intended to go to the Texas State University venue as planned, but failed to relay

Plaintiff Cervini’s message that those on the bus needed help:

       PLAINTIFF CERVINI: It sounds like they’re going straight to Austin.

       DEPUTY COLE STAPP: So they’re not stopping here anymore?

       PLAINTIFF CERVINI: No, I don’t think so. But they requested help. I don't know if
       they’re still in your jurisdiction, but . . . Yeah, I don’t know. They reached out. I don’t
       have their exact location, but I know they’re pretty concerned.

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       UNIDENTIFIED MALE ON RADIO: (Indiscernible) Okay (indiscernible).

       DEPUTY COLE STAPP: Hang on real quick. This is --

       UNIDENTIFIED MALE ON RADIO: (Indiscernible) convoy I-35 heading northbound,
       entering our area.

       DEPUTY COLE STAPP: All right. They just said they’re entering our area at 35
       northbound.

       PLAINTIFF CERVINI: Yeah, we could really use your help.

       ...

       DEPUTY COLE STAPP: I’m going to call our dispatch and let them know what you’re
       telling me.

       PLAINTIFF CERVINI: Okay, thanks.

       DEPUTY COLE STAPP: You said you’re with the Biden campaign?

       PLAINTIFF CERVINI: Volunteer. But --

       DEPUTY COLE STAPP: Yeah.

       PLAINTIFF CERVINI: -- I have them on here.

       DEPUTY COLE STAPP: Hey, it’s 820. I’m here at the corner of Hopkins and CML and
       with a member of the Biden campaign. He’s advising me that that convoy is not coming
       here any longer. They’re going straight to Austin. Okay.

       113.    Marshal Stapp then informed Plaintiff Cervini that those on the bus should call 911

if they were in need of emergency services. Plaintiff Cervini explained that they already had and

that they needed help and provided the bus’s exact location, which Marshal Stapp acknowledged

was near the SMPD headquarters. Marshal Stapp then relayed the bus’s location to SMPD 911

dispatch at 3:38pm, several minutes after his first call to SMPD 911 dispatch to note the cancelled

Texas State University event.

       114.    At or around 3:34pm, Plaintiffs Davis and Gins called the Hays County Sheriff’s

Office. The Hays County dispatcher connected them to the SMPD. Plaintiffs Davis and Gins




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repeatedly provided the bus’s location and implored SMPD to send an escort to help protect the

bus:

       SMPD DISPATCHER EVELYN NAKELIA: San Marcos Police Department.

       PLAINTIFF GINS: Hi. We are on I-35. We’re a campaign bus and surrounded
       by about 50 protesting vehicles that have slowed us down to about 30 miles per
       hour. We’re northbound—

       SMPD DISPATCHER EVELYN NAKELIA: The Trump Train?

       PLAINTIFF GINS: Yes.

       SMPD DISPATCHER EVELYN NAKELIA: Yeah. You guys are on the bus?
       The Biden bus?

       PLAINTIFF GINS: Correct.

       SMPD DISPATCHER EVELYN NAKELIA: Okay. Yeah, we’re aware of that.
       We’re trying to get—

       PLAINTIFF GINS: But it’s quite unsafe for us. If there’s any way that we could
       have some kind of assistance moving our way—

       SMPD DISPATCHER EVELYN NAKELIA: Okay.

       PLAINTIFF GINS: --north?

       SMPD DISPATCHER EVELYN NAKELIA: Where exactly are you?

       PLAINTIFF DAVIS: (Indiscernible) Exit 204.

       SMPD DISPATCHER EVELYN NAKELIA: Going southbound or northbound?

       PLAINTIFF GINS: Northbound.

       115.   Over the course of their call with SMPD 911 dispatch, Plaintiffs Gins and Davis

repeatedly detailed how the Trump Train was threatening their safety:

       SMPD DISPATCHER EVELYN NAKELIA: What are they doing at this moment right
       now?

       PLAINTIFF GINS: They’re blocking us from moving at a normal speed.

       SMPD DISPATCHER EVELYN NAKELIA: Is it blocking other traffic also, or no?

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       PLAINTIFF GINS: I’m sorry?

       SMPD DISPATCHER EVELYN NAKELIA: Is it blocking like the full roadway as well?

       PLAINTIFF GINS: Yes.

       SMPD DISPATCHER EVELYN NAKELIA: Okay.

       PLAINTIFF GINS: The entire roadway.

       116.    When Plaintiff Gins then explained that the bus was moving 15 miles per hour

because the Trump Train was blocking it, the SMPD dispatcher suggested it was just traffic. But

Plaintiffs Gins and Davis made crystal clear what was happening. “They’re purposely causing us

to slow down,” they explained. Over the course of the call with SMPD, Plaintiffs Davis and Gins

provided the bus’s location at least four times, as the dispatcher repeatedly asked which exit marker

the bus had passed and what landmarks Plaintiffs Gins and Davis could see in the vicinity.

       117.    Despite these multiple calls for help from Plaintiffs and others, for the roughly 30

minutes it took to drive through San Marcos on the main highway that runs through it, there were

no officers from San Marcos or any other police cars in sight—not on the I-35 exit or entrance

ramps, nor on either side of the highway.

           E. Plaintiffs Face Increased Violence Without Police Escort in San Marcos

       118.    Lacking an escort through San Marcos, the Trump Train became emboldened, and

the conspiracy reached its zenith. The Trump Train again surrounded the bus and Campaign

Staffer A’s car.

       119.    Video evidence shows the black Toyota Tundra bearing Texas License Plate # NKS

8130, driven by a John Doe, and the gray Ford F-150 bearing dealer tag # 76022U6, driven by a

John Doe, driving extremely close to the front and side of the bus and abruptly braking. The

Cadillac SRX bearing Texas License Plate # KVH 4567, which Dolores Park was driving, can be



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seen in the same footage assisting the gray Ford F-150 bearing dealer tag # 76022U6, driven by a

John Doe, in boxing the bus in.




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       120.    Vehicles in the Trump Train also cut sharply in front of the bus from parallel lanes

and the shoulder, causing the bus to brake quickly. The gray Ford F-150 bearing dealer tag

# 76022U6 can be seen in video footage driving dangerously close to the front of the bus. The

Ford F-150 bearing Texas License Plate # NJX 1701, in which Robert and Joeylynn Mesaros rode,

can be seen in the same footage waiting on the shoulder for the bus to arrive, and then dangerously

and abruptly cutting right in front of it. Likewise, the red Toyota Tundra bearing License Plate

# GLB 9729 can be seen in video footage cutting suddenly from the middle lane left of the bus, to

right in front of the bus, and back, close enough to force the bus to slow down suddenly.




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       121.   Through much of the drive, the white Toyota Tundra # LXT 9066, driven by a John

Doe, was on the right-hand side of the bus, slightly ahead of it, with its window down. A John

Doe backseat passenger of the vehicle was hanging out of the window, screaming.




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       122.   At some points, the white Toyota Tundra # LXT 9066 moved to the left-hand side

of the bus and began driving dangerously close to the bus. Video footage posted by Hannah Ceh,

a passenger in the white Toyota Tundra # LXT 9066, shows the vehicle driving within inches of

the bus.29




       123.   Throughout this time, Trump Train vehicles started veering close to Campaign

Staffer A and the bus, surrounding them and playing a game of “chicken” in what appeared to be

an attempt to force Campaign Staffer A to leave his spot behind the bus. Trump Train vehicles


29
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 5:47 AM),
https://twitter.com/RzstProgramming/status/1322852781041061888;
Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 6:18 AM),
https://twitter.com/RzstProgramming/status/1322860570610147331.
                                            - 45 -
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would pass within three to four inches of his front right bumper, and would pull up and yell. They

would not let up.

       124.    Members of the Trump Train—including the white Toyota Tundra # LXT 9066

seen in video footage stills below—were also taking pictures and videos, making hand gestures,

swerving dangerously in and out of lanes, and otherwise driving in a way that appeared to be an

attempt to push the bus off the road onto the shoulder.




       125.    At times, the Trump Train’s hounding of the bus caused back-ups of unrelated

traffic on I-35. At several points, Trump Train vehicles moved together in a coordinated fashion

to allow unrelated traffic to pass by the convoy.

       126.    With no end to the harassment in sight, the bus took a defensive posture, covering

the middle line of the interstate so that the bus had more room on its right to defend against the

vehicles. Plaintiff Holloway sought to preserve room in the right lane in order to allow room for

the bus to slow down if forced to stop suddenly.



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       127.    Campaign Staffer A continued to follow the bus, but Cisneros approached from his

right, at times straddling the solid line on the right-hand shoulder, apparently to get as close to the

bus as possible and box it in from behind. As the bus and Campaign Staffer A’s vehicle

approached Exit 210 near the San Marcos-Kyle line, and still with no officers in sight, Cisneros

approached within feet of the back bumper of the bus:30




       128.    As Campaign Staffer A attempted to continue on his course following the bus,

Cisneros swerved the front edge of his pickup truck, accelerating twice towards Campaign Staffer

A’s car, both times bumping the side of his car.



30
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 9:43 AM),
https://twitter.com/RzstProgramming/status/1322912224311185409/photo/1.
                                            - 47 -
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        129.    As a result of the impact, Campaign Staffer A temporarily lost control of his vehicle

and swerved into the middle lane of traffic. He drifted back into the highway lane after gaining

control of his vehicle.

        130.    As demonstrated by video footage, the driver’s-side front of Cisneros’s black Ford

F-150 made contact with Campaign Staffer A’s white SUV twice and forced it out of the right-

most lane of traffic.31




31
   melissa “cancel student debt” byrne (@mcbyrne), TWITTER (Oct. 31, 2020, 11:50 AM),
https://twitter.com/mcbyrne/status/1322566702048153600.
                                            - 48 -
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       131.    The rental car that Campaign Staffer A was driving sustained damage along the

side where Cisneros’s vehicle collided with it.32




       132.    Following the collision, Campaign Staffer A pulled over to the shoulder, but

quickly resumed driving to try to stay close to the bus for safety after Cisneros pursued and

cornered his vehicle on the shoulder. Video footage shows Cisneros’s black Ford F-150 # 67555

DV speeding past the bus and maneuvering all the way from the lane to the left of the bus to the




32
   Katie Naranjo (@KatieNaranjo), TWITTER (Oct. 30, 2020, 6:55 AM),
https://twitter.com/KatieNaranjo/status/1322311181168758784/photo/2.
                                             - 49 -
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right-hand shoulder, in pursuit of Campaign Staffer A. Cisneros’s truck then cuts directly in front

of Campaign Staffer A’s white SUV on the shoulder in an attempt to block it in. As Campaign

Staffer A attempts to pull back onto the highway, Cisneros’s truck abruptly brakes, causing

Campaign Staffer A to come to a near stop. Finally, Campaign Staffer A is able to escape by

darting in front of the bus. In one of the video stills, the John Doe backseat passenger of the Toyota

Tundra # LXT 9066 can be seen coordinating with Cisneros, who proceeds to get back in a driving

lane in front of the Toyota Tundra.




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       133.   Also after the collision, some of the Trump Train members pulled over and got out

of their vehicles. Upon information and belief, Robert and Joeylynn Mesaros were among these

vehicles. Video footage shows a man and woman in the truck bed of the black Ford F-150 # NJX

1701 filming the bus as Campaign Staffer A attempts to pull over.




       134.   Campaign Staffer A called SMPD 911 after the collision to report that one of the

Trump Train vehicles had hit him and again begged for SMPD officers to come help protect the

bus.

       UNKNOWN SMPD DISPATCHER: Okay. Are you able to pull over? Sir, are
       you able to pull over?


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       CAMPAIGN STAFFER A: No. I need to stay with this bus. I have to stay with
       the bus. I’m good. Like I’m good to drive. I just got hit.

       UNKNOWN SMPD DISPATCHER: Sir, if you’re wanting to report an accident,
       you need to pull over.

       CAMPAIGN STAFFER A: All right. Well, then, (indiscernible) I can’t (indiscernible)
       with the bus. Get me (indiscernible).

       UNKNOWN SMPD DISPATCHER: Just to confirm, you want to cancel? Just to
       confirm, do you want to cancel officers coming to you?

       CAMPAIGN STAFFER A: No, I don’t want to cancel officers coming to me.

       UNKNOWN SMPD DISPATCHER: Okay.

       CAMPAIGN STAFFER A: I need officers to meet me to protect our bus.

           F. Plaintiffs Are Granted Reprieve Upon Arrival of Police Escort in Kyle

       135.    As the bus approached Kyle, Plaintiffs Davis and Gins continued to explain the

bus’s location while on the phone with the dispatcher from the SMPD. With the SMPD failing to

provide an escort for the bus as it drove through San Marcos, the SMPD dispatcher transferred

Plaintiffs Davis and Gins to the Kyle Police Department at or around 3:46pm. Plaintiffs Davis and

Gins described their location as the bus drove into Kyle, and the Kyle dispatcher said officers

would assist. At around the same time, a Biden staffer informed Plaintiffs Gins and Cervini that

he had notified the Kyle and Buda Police Departments about the bus’s location. Shortly thereafter,

a police escort arrived in Kyle, granting the bus a short reprieve.

       136.    The Trump Train again de-escalated its harassing behavior and resumed driving at

around the posted speed limit. But as soon as the police escort exited I-35 at around the Travis

County limit, the Trump Train resumed their threatening behavior. At that point, roughly twenty

vehicles remained in the Trump Train, including the white Toyota Tundra # LXT 9066, which can

be seen in Plaintiff Davis’ video driving several cars ahead when the police escort is present, but

quickly resuming its place right in front of the bus and boxing it in within approximately 30

seconds after the police escort drops off.
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         137.   As the bus and the Trump Train then entered Travis County, the bus was still

surrounded by approximately seven to eight Trump Train vehicles.

         138.   Finally seeing a brief opening provided by an approaching exit, Plaintiffs Holloway

and Davis seized the opportunity to escape the convoy by abruptly taking an earlier-than-planned

exit into downtown Austin. At this point, the bus was straddling the middle and right lanes, driving

around the speed limit of 70 miles per hour. As the exit approached, Holloway feigned going

straight, then cut to the Riverside exit ramp at the last second. Upon exiting I-35, the bus lost what

remained of the convoy for its final entry into Austin.

         139.   Plaintiffs arrived at the AFL-CIO headquarters in Austin around 4:35pm, without

any Trump Train vehicles in immediate pursuit. It was their first planned campaign stop for Austin,

but by that point, the event had been cancelled, along with the two planned stops thereafter. The

approximately 80-mile drive between the AT&T Center in San Antonio and the AFL-CIO in

Austin, which would normally take no more than ninety minutes, had taken approximately 2.5

hours.

            G. Plaintiffs Are Harassed At Cancelled Austin Event Location

         140.   Shortly after Plaintiffs arrived at their Austin campaign stop at the AFL-CIO,

members of the Trump Train also arrived at the location. These Trump Train vehicles, which had

not appeared to have directly followed the bus off the Riverside exit, nonetheless knew the bus’s

next campaign stop and arrived to continue their harassment of Plaintiffs. Upon information and

belief, these vehicles included the black Ford F-150 driven by Cisneros, and the white Toyota

Tundra # LXT 9066, carrying Hannah Ceh and two John Does.

         141.   Upon arriving in the AFL-CIO parking lot, the Trump Train members got out of

their trucks and confronted the Biden-Harris Campaign participants, screaming insults at Plaintiff

Holloway and Campaign Staffer A in particular.

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         142.   City of Austin police were present at the venue, but did not ask any members of the

Trump Train to leave the parking lot. Plaintiff Gins asked the police to help when one member of

the Trump Train got extremely physically close to Plaintiff Holloway and Campaign Staffer A

while screaming at them.

         143.   By this point, the Biden-Harris Campaign had decided to cancel their scheduled

campaign event and press conference at the AFL-CIO, as well as the rest of the Bus Tour and all

other promotional events in Texas. Plaintiff Gins also spoke with a member of the Biden-Harris

Campaign, who told the remaining Bus Tour participants to shelter in place within the AFL-CIO

building if possible. Plaintiff Gins and others present at the venue proceeded to shelter in place.

         144.   Plaintiffs each left the scene shortly thereafter. Plaintiff Davis was met by her

campaign manager—who had been escorting the bus in a separate vehicle throughout the

incident—and left the AFL-CIO in her campaign manager’s vehicle shortly after arriving at the

venue.

         145.   As Davis left and for some time thereafter, the other Bus Tour participants

discussed how long to stay at the AFL-CIO. Plaintiffs Gins and Cervini were afraid to leave the

shelter of the AFL-CIO, given their experience on I-35 and the continued presence and hostility of

Cisneros and others at the AFL-CIO. Plaintiff Holloway was concerned about his continued safety

if he stayed at the AFL-CIO parking lot.

         146.   Around this time, the police officers present at the AFL-CIO told the Bus Tour

participants they were leaving, and that once the bus left the AFL-CIO, they were “on their own.”

Shortly thereafter, Plaintiff Cervini left the premises in his vehicle, hoping to get away quickly

from the remaining Trump Train vehicles and what he saw as a continued dangerous situation at

the AFL-CIO parking lot. Plaintiff Gins, Campaign Staffer A, and a fellow campaign staffer got



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into the white SUV that Campaign Staffer A had driven, and also left. Plaintiff Holloway and the

off-duty bus driver concluded that they would not be safe in Texas, and drove the bus out of state.

           H. Continued Harassment After the I-35 Incident

       147.    Later that evening, Cisneros and other Trump Train members bragged about their

exploits on social media.

       148.    On his Facebook page, Cisneros posted a photo or video that has since been deleted,

stating “Texas welcomes Biden/Harris” with “35 in [inch] tires,” and telling a commenter “that

was me slamming that fucker…. Hell yea.” One commenter joked about the violence of Cisneros’s

actions on I-35, stating that Cisneros’s “protest” was “mostly peaceful.. Bwahahahaha” and telling

him to “make sure you Armor All your tires for Sunday,” the date the final pre-Election Day

MAGA Drag the Interstate event was planned. Cisneros also reposted a video taken by another

Trump Train member, stating “Hell yea… My truck is right behind the bus at the end….”




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       149.   Jason Frank retweeted content by @truthserum4all, which has since been removed

by Twitter, bragging about “My Squad holding the line”33 as well as a video of the incident with

the caption, “My Texas family escorting the Biden bus [crying laughing emoji] Get um

@truthserum4all.”34

       150.   The next day, several members of the Alamo City Trump Train Facebook group

bragged about the event online, noting that they were “armed and dangerous” throughout the

October 30 Trump Train.




33
   Freedom Rings (@FreedomRings007), TWITTER (Oct. 30, 2020, 9:47 PM),
https://twitter.com/FreedomRings007/status/1322354409561444354.
34
   Freedom Rings (@FreedomRings007), TWITTER (Oct. 30, 2020, 4:51 PM),
https://twitter.com/FreedomRings007/status/1322279938339139584.
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       151.    The incident also caught the attention of the Trump Campaign. Between October

31 and November 2, 2020, then-President Trump spoke at campaign rallies in support of the violent

intimidation of Plaintiffs and tweeted about the incident, including a retweet of video of the

incident, writing, “I LOVE TEXAS!” Robert Mesaros reposted the tweet to Facebook, with the

caption, “We were in this small group of trucks!”35 Dolores Park posted footage of the campaign

speeches on social media, stating, “Talking about us again!! Lol San Antonio! Escorting Biden

Bus right out of Town! Deplorables escort service[.]”36

       152.    On November 1, 2020, Donald Trump Jr. shared road footage taken by a New

Braunfels Trump Train member to his Instagram story. Hannah Ceh reposted Trump Jr.’s story

on social media.37

       153.    In the meantime, Trump Train participants continued to harass the Bus Tour

participants online.

       154.    On the evening of October 30, Plaintiff Cervini tweeted about the incident. In

response, his tweet received several thousand negative comments, and he received a number of

threatening emails. One Twitter post, from Twitter user @WeFight4Freedom, threatened, “That’s

nothing commie. We got more for you. Much more.” Cisneros identified Plaintiff Cervini’s

professional Facebook page, and posted the message, “How did you like Texas?” On his Facebook

profile at the time, Cisneros had posted a prominent picture wearing an “LGBT” (“Liberty Guns

Beer Trump”) t-shirt, and holding a gun.




35
   Robert Mesaros, FACEBOOK (Oct. 31, 2020),
https://www.facebook.com/robertjmesaros/posts/4131515303542248 (last accessed May 27,
2021).
36
   Dolores Bedard Park, FACEBOOK (Nov. 2, 2020),
https://www.facebook.com/dolores.park.39/posts/10157765610483997.
37
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 6:18 AM),
https://twitter.com/RzstProgramming/status/1322860570610147331.
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       155.    Members of the Trump Train and their online supporters identified Campaign

Staffer A online and harassed him on Snapchat. They also posted pictures on Facebook of the

guns they had carried.

           I. Defendants’ Response After the I-35 Incident

       156.    On the evening of October 30, SMPD officers, too, poked fun at the attack. At

8:22pm, Defendant Winkenwerder and other SMPD officers sent text messages to each other

about the event:


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       157.    The next day, Defendant Stapp sent a text message to several officers surveying the

extent of the incident:




       158.    But in the following days, the officers realized that what had occurred in San

Marcos might lead to political and legal consequences, calling the event a “debacle” in internal

emails and bracing themselves for a “political fire storm.” Internal emails between Defendant City

of San Marcos employees from October 31 to November 2 mention SMPD’s “attempt to assist”

the bus, but nowhere mention the repeated requests for a police escort or Defendant Winkenwerder

and Daenzer’s refusal to order such an escort.




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        159.   By the time Defendant Daenzer wrote his report of the incident on November 4, the

story had evolved again. Daenzer wrote, “Due to the staffing issues, lack of time to plan, and lack

of knowledge of the route, we were unable to provide an escort.”

IV.     PLAINTIFFS’ INJURIES

        160.   During the ordeal on I-35, Plaintiffs feared for their lives. As the driver of and

passengers on the bus, Plaintiffs Holloway, Davis, and Gins were subjected to an imminent threat

of bodily harm as a result of the reckless and dangerous driving of certain vehicles in the Trump

Train, which escalated without a police escort. Plaintiff Cervini suffered a similar imminent threat

of bodily harm while driving ahead of the bus and encountering the Trump Train on and around

I-35.

        161.   Plaintiffs all suffered emotional distress. Plaintiff Holloway had trouble sleeping

for over a month after the incident. He was so traumatized by the incident that he decided to cease

his tour bus business, which had generally earned him revenue of $600,000 to $700,000 per year,

and has since turned down opportunities to begin driving buses again.

        162.   Plaintiff Davis suffered substantial emotional distress, including experiencing fears

that speaking publicly about her experience would put her at risk of physical harm from certain

members of the Trump Train and their supporters, as she lives in Texas and many of her Trump

Train assailants reside in the congressional district she was running to represent.

        163.   Plaintiff Gins was extremely shaken as a result of his ordeal. During the incident,

he felt “terrorized” as a result of certain of the Trump Train vehicles’ collective actions in

following, assaulting, and harassing the bus and its passengers. About an hour into the ordeal, he

walked to the back of the bus and broke down in tears. He did not want the others to see him

crying. He called his manager on the Biden-Harris Campaign begging for reassurance that they

would be safe and that someone was coming to help them.

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       164.     Following the incident, Plaintiff Gins has suffered from persistent acute anxiety

and its physical manifestations, including stomach pains, nausea, lethargy, and trouble getting out

of bed in the morning. He wanted to talk to others about the incident but was afraid to “face the

world,” and at times opted to “stay under the covers” rather than relive his trauma by describing

the events to others. After the January 6, 2021 insurrection, he volunteered to work full-time in

then-President-Elect Biden’s Presidential Inaugural Committee in Washington, D.C., but quit after

three or four days, finding himself unable to cope with the anxiety he still faced from October 30,

2020. The night before Inauguration Day, he was to participate in the Inaugural parade. After

initially agreeing, he declined by text message: “I’m sorry to back out but I’m just having anxiety

about the security aspect. I was on the Biden bus in Texas [and] have been a little traumatized

since then.”

       165.     Plaintiff Cervini describes the incident as a “nightmare” that caused emotional

anxiety and stress about his safety and the safety of his family during the remainder of the 2020

election.

       166.     Plaintiffs were also prevented from engaging in political advocacy in support of

their chosen candidates for President and Vice President, and from engaging in activities to support

voter engagement and get-out-the-vote advocacy. As a result of the Trump Train’s intimidation

and harassment, which escalated without a police escort present in San Marcos, Plaintiffs and the

Biden-Harris Campaign were forced to cancel campaign stops in San Marcos and Austin to protect

the physical safety of themselves and event participants, preventing Plaintiffs from engaging in

the political process with prospective voters and exercising their First Amendment rights to

freedom of speech and association.




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                                             COUNT I

                             (Claim Against Defendants for Violation of
                             the Ku Klux Klan Act, 42 U.S.C. § 1986)

          167.   Plaintiffs incorporate by reference the preceding paragraphs as if fully set forth

herein.

          168.   Plaintiffs bring a claim under 42 U.S.C. § 1986, which in relevant part provides

that:

          Every person who, having knowledge that any of the wrongs conspired to be done, and
          mentioned in section 1985 of this title, are about to be committed, and having power to
          prevent or aid in preventing the commission of the same, neglects or refuses so to do, if
          such wrongful act be committed, shall be liable to the party injured, or his legal
          representatives, for all damages caused by such wrongful act, which such person by
          reasonable diligence could have prevented; and such damages may be recovered in an
          action on the case; and any number of persons guilty of such wrongful neglect or refusal
          may be joined as defendants in the action . . . .

          169.   Defendants Stapp, Winkenwerder, and Daenzer, who had policymaking, decision-

making, managerial, and/or supervisory authority within the City of San Marcos, had actual

knowledge of a conspiracy of members of the Trump Train to knowingly intimidate

constitutionally eligible voters out of providing support or advocacy in a federal election in

violation of 42 U.S.C. § 1985(3). Defendant Stapp was made aware of the Trump Train at least

one day in advance, when Biden Supporter A called Defendant Stapp and reported safety concerns

relating to the Trump Train, which was being publicly planned on social media in the days leading

up to October 30, 2020. Defendant Stapp was then informed again about the Trump Train’s

dangerous behavior on the afternoon of October 30, as it approached San Marcos. Defendant

Stapp, in turn, informed Defendant Winkenwerder of the warnings he received about the Trump

Train. In addition to receiving direct notice from Defendant Winkenwerder, Defendant Daenzer

was further made aware of the Trump Train conspiracy as the forceful, intimidating, and



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threatening conduct by members of the Trump Train was occurring, including through 911

requests for assistance.

       170.     Defendant City of San Marcos, by and through its employees and agents, who are

policymakers, decision-makers, managers, and/or supervisors, had actual knowledge of the

aforementioned conspiracy.

       171.     Defendants Stapp, Winkenwerder, Daenzer, and Defendant City of San Marcos, by

and through its employees and agents, had the power to prevent or aid in preventing the

commission of the same, and could have through reasonable diligence prevented the commission

of the same, including by arranging for a police escort on I-35 to escort the bus as it traveled into

and through the City of San Marcos, or by sending such an escort while the conspiracy was in

progress.

       172.     Defendants Stapp, Winkenwerder, Daenzer, and Defendant City of San Marcos, by

and through its employees and agents, neglected or refused to prevent or aid in preventing the

commission of the wrongful conduct described above by failing to provide a police escort on I-35

to escort the bus as it traveled through the City of San Marcos, and by otherwise failing to protect

Plaintiffs from the unlawful acts of the Trump Train. Defendants failed to take reasonable steps

to protect Plaintiffs from an unlawful civil rights conspiracy and/or refused to send a police escort

to aid the bus, despite being asked to provide one.

       173.     Plaintiffs suffered damages as a proximate result of Defendants’ neglect or refusal

to prevent or aid in preventing the wrongful acts described above. Had Defendants aided in

preventing the wrongful conduct described above, including by sending a police escort, Plaintiffs

would not have suffered the same injuries described herein.




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                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray this Court:

         a)      Determine it has jurisdiction over this action;

         b)      Declare that Defendants have violated 42 U.S.C. § 1986 as set forth above;

         c)      Award nominal and compensatory damages in an amount to be determined at

trial;

         d)      Award punitive damages in an amount to be determined at trial;

         e)      Award Plaintiffs’ reasonable attorneys’ fees and litigation costs; and

         f)      Grant any such other relief as this Court may deem just and proper.

                                           JURY DEMAND

         Plaintiffs demand a trial by jury on all issues so triable.




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DATED: October 29, 2021                     Respectfully submitted,

                                            /s/ Emma Hilbert

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